Case:17-03283-LTS Doc#:17101-2 Filed:06/18/21 Entered:06/18/21 17:42:43              Desc:
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                                        ANEXO A

    Relación de reclamaciones objeto de la Tricentésima trigésima sexta objeción global
                                 Case:17-03283-LTS Doc#:17101-2 Filed:06/18/21 Entered:06/18/21 17:42:43                                                     Desc:
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                                                                   Tricentésima Trigésima Sexta Objeción Global
                                                                       Anexo A: Reclamos a ser desestimados
                                                                                           FECHA DE                                                                     N.º DE          MONTO DE LA
                                                                                          PRESENTACI         NÚMERO DE                                                RECLAMACI         RECLAMACIÓN
    NOMBRE                                                                                    ÓN               CASO                         DEUDOR                       ÓN               ALEGADA
1   BARRERAS INC                                                                            5/25/2018      17 BK 03283-LTS El Estado Libre Asociado de Puerto              21597              $ 108,800.00
    EDGARDO L. RIVERA                                                                                                      Rico
    PO BOX 360764
    SAN JUAN, PR 00936

    Base para: De acuerdo con los libros y registros de la Administración de Rehabilitación Vocacional, no existen montos adicionales adeudados para las obligaciones que se reclaman; las facturas se
    pagaron en su totalidad.
2   CONNECTICUT STATE TREASURER - UCPD                                                       4/3/2018      17 BK 03283-LTS El Estado Libre Asociado de Puerto              6388             Indeterminado*
    E. AUSTIN, ESQ. -PULLMAN & COMLEY LLC                                                                                  Rico
    850 MAIN STREET, 8TH FLOOR
    BRIDGEPORT, CT 06601

    Base para: La Evidencia de Reclamo reclama obligaciones asociadas a una propiedad no reclamada que se adeuda al estado de Connecticut. El Estado Libre Asociado continuó pagando montos
    adeudados por la propiedad no reclamada al estado de Connecticut y sus registros no reflejan ningún monto adeudado pendiente. Asimismo, dado que la petición del Estado Libre Asociado al amparo
    del Título III se interpuso hace más de cuatro años, y que la legislación de Connecticut establece que la propiedad no reclamada se revierte al estado al cumplirse tres años de su abandono, el Estado
    Libre Asociado considera que no adeuda ningún otro monto asociado a una propiedad que se abandonó antes de la petición.
3   ELGA SANTOS ORTEGA AND ARMANDO MANUEL CRUZ SANTOS                                       5/18/2018      17 BK 03283-LTS El Estado Libre Asociado de Puerto              21691             $ 300,000.00*
    C/O GASPAR MARTINEZ MANGUAL ESQ.                                                                                       Rico
    PO BOX 194422
    SAN JUAN, PR 00919-4422

    Base para: La Evidencia de Reclamo reclama una obligación asociada a una causa judicial interpuesta contra el Estado Libre Asociado. Sin embargo, los registros de dicho Estado Libre Asociado
    indican que la causa se desestimó.
4   JOSE ALEJANDRO MORALES TORRES, JOSE ALEJANDRO MORALES ORRIOLA,                          5/25/2018      17 BK 03283-LTS El Estado Libre Asociado de Puerto              46176           $ 1,405,000.00*
    NAVM; ASHLY MORALES ORRIOLA                                                                                            Rico
    GASPAR MARTINEZ MANQUAL
    P.O BOX 194422
    SAN JUAN, PR 00919

    Base para: La Evidencia de Reclamo reclama obligaciones asociadas a un litigio caratulado SJ-2018-CV-01971. Sin embargo, el caso se desestimó pues los demandantes omitieron notificar a los
    demandados.
5   KMART OPERATIONS LLC                                                                    6/28/2018      17 BK 03283-LTS El Estado Libre Asociado de Puerto              72308            Indeterminado*
    MCCONNELL VALDES LLC                                                                                                   Rico
    C/O NAYUAN ZOUAIRABANI
    PO BOX 364225
    SAN JUAN, PR 00936-4225

    Base para: La Evidencia de reclamo invoca una obligación con base en un reembolso/devolución de impuestos. Los registros del Departamento de Hacienda muestran que dicho reembolso o devolución
    ya se utilizó y que no queda ningún otro monto pendiente.




          * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                        Página 1 de 3
                                  Case:17-03283-LTS Doc#:17101-2 Filed:06/18/21 Entered:06/18/21 17:42:43                                                   Desc:
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                                                                    Tricentésima Trigésima Sexta Objeción Global
                                                                        Anexo A: Reclamos a ser desestimados
                                                                                           FECHA DE                                                                    N.º DE          MONTO DE LA
                                                                                          PRESENTACI         NÚMERO DE                                               RECLAMACI         RECLAMACIÓN
     NOMBRE                                                                                   ÓN               CASO                         DEUDOR                      ÓN               ALEGADA
6    LAGARES HO, YASHIRA                                                                    3/19/2018      17 BK 03283-LTS El Estado Libre Asociado de Puerto              2867                 $ 1,983.00
     1401 SAINT GABRIELLE LANE                                                                                             Rico
     APT 3002
     FORT LAUDERDALE, FL 33326

     Base para: La Evidencia de reclamo invoca una obligación con base en un crédito fiscal de 2016. Los registros del Departamento de Hacienda indican que el crédito fiscal de $1,983.00 se aplicó a
     deudas tributarias de 2015.
7    QUIROS MILANES, EMMA I                                                                 5/18/2018      17 BK 03283-LTS El Estado Libre Asociado de Puerto              17513           $ 2,155,000.00*
     GASPAR A MARTINEZ MANGUAL                                                                                             Rico
     PO BOX 194422
     SAN JUAN, PR 00919-4422

     Base para: La Evidencia de Reclamo reclama una obligación fundada en un litigio pendiente. Sin embargo, el caso, interpuesto contra el Estado Libre Asociado, se desestimó de manera voluntaria y los
     demandantes restantes no son entidades al amparo del Título III, sino que son entidades jurídicas separadas y distintas del Estado Libre Asociado.
8    RODRIGUEZ GARRIDO, JOSE M                                                              5/22/2018      17 BK 03283-LTS El Estado Libre Asociado de Puerto              18167               $ 14,279.00
     PO BOX 8116                                                                                                           Rico
     SAN JUAN, PR 00910

     Base para: La Evidencia de reclamo invoca una obligación con base en un crédito fiscal de 2017. Los registros del Departamento de Hacienda indican que dicho crédito fiscal se aplicó a deudas
     tributarias de 2018 y 2019, y que no queda ningún crédito pendiente.
9    SAAVEDRA NAVARRO , RAMON                                                               5/22/2018      17 BK 03283-LTS El Estado Libre Asociado de Puerto              18560            $ 200,000.00*
     PO BOX 250535                                                                                                         Rico
     AGUADILLA, PR 00604

     Base para: La Evidencia de Reclamo reclama obligaciones asociadas a una acción interpuesta junto con FINRA en contra de Santander Securities, LLC, por presuntas pérdidas de inversión del
     demandante. Tanto la evidencia de reclamo como la documentación de respaldo omiten proporcionar fundamentos para reclamar las obligaciones en contra el Estado Libre Asociado o de cualquier otro
     deudor al amparo del Título III.
10   SURE VDA, LUISA                                                                        5/10/2018      17 BK 03283-LTS El Estado Libre Asociado de Puerto              12891                $ 4,548.39
     URB EL ALAMO                                                                                                          Rico
     E 6 EL ALAMO DR
     GUAYNABO, PR 00969

     Base para: La Evidencia de Reclamo reclama una obligación asociada a fondos no reclamados y declarados por Banco Popular ante el Estado Libre Asociado. Los registros de dicho Estado Libre
     Asociado no reflejan que el demandante haya reclamado esos fondos dentro del plazo de tres años posterior a que la propiedad se declarara no reclamada, como lo exige la legislación del Estado Libre
     Asociado. Por lo tanto, la propiedad de los fondos se revirtió al Estado y el Estado Libre Asociado ya no tiene ninguna obligación para con el demandante en razón de estos fondos.




           * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                       Página 2 de 3
                                  Case:17-03283-LTS Doc#:17101-2 Filed:06/18/21 Entered:06/18/21 17:42:43                                                   Desc:
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                                                                    Tricentésima Trigésima Sexta Objeción Global
                                                                        Anexo A: Reclamos a ser desestimados
                                                                                           FECHA DE                                                                    N.º DE          MONTO DE LA
                                                                                          PRESENTACI         NÚMERO DE                                               RECLAMACI         RECLAMACIÓN
     NOMBRE                                                                                   ÓN               CASO                         DEUDOR                      ÓN               ALEGADA
11   VELASCO CERVILLA, JUAN C.                                                              5/21/2018      17 BK 03283-LTS El Estado Libre Asociado de Puerto              17724               $ 25,829.00
     PO BOX 3004                                                                                                           Rico
     YAUCO, PR 00698

     Base para: La Evidencia de reclamo invoca una obligación con base en un crédito fiscal de 2017. Los registros del Departamento de Hacienda indican que el crédito fiscal de $25,829.00 se aplicó a
     deudas tributarias de 2018.
                                                                                                                                                                     TOTAL                 $ 4,215,439.39*




           * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                       Página 3 de 3
